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          Attorneys for Defendant




                             UNITED STATES DISTRICT COURT

                                     DISTRICT OF OREGON

                                     PORTLAND DIVISION




    CHANDRA HEWES,                                                Civil No. 3:17-cv-00281-AC

                        Plaintiff,
                                                                ANSWER TO PLAINTIFF’S
          v.                                                              COMPLAINT

    TARGET CORPORATION,                                         JURY TRIAL REQUESTED

                        Defendant.



                  COMES NOW Defendant Target Corporation (hereinafter referred to as

    “Target”), by and through its attorney, William H. Stockton of Brisbee & Stockton LLC,

    and answers Plaintiff’s Complaint as follows:




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                                                1.

                   Based upon information and belief, Defendant Target admits paragraphs 1,

    2, and 3. Defendant Target further admits that Plaintiff Chandra Hewes was an invitee

    on the Target premises on or about January 17, 2015.

                                                2.

                   Except as specifically admitted above, Defendant Target denies or does not

    have sufficient information and believe to admit or deny the remaining allegations and

    claims such that all remaining allegations and claims of Plaintiff’s Complaint are denied.

                   AS A FURTHER SEPARATE ANSWER AND DEFENSE, Defendant

    Target states as follows:

                                                3.

                   Defendant Target states that Plaintiff Chandra Hewes’s fall and any

    resulting injuries from that fall were the result of Plaintiff Chandra Hewes’s own

    conduct, fault and negligence in the following particulars:

                   (a)   Plaintiff failed to keep a proper lookout for conditions or

    circumstances that might exist in Target that might pose a danger to her given the

    circumstances, and

                   (b)   Plaintiff failed to walk around or otherwise avoid conditions and

    circumstances that might pose a danger to her given the circumstances that she

    encountered.

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                    WHEREFORE, Defendant Target prays for a judgment of dismissal in its

    favor, together with a judgment for its costs and disbursements incurred in defending

    this lawsuit.

                    DATED this 22nd day of February, 2017.

                                       BRISBEE & STOCKTON LLC


                                       By:             /s/ William H. Stockton                           _
                                             William H. Stockton, OSB #743163
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